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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

                                                   )
 UNITED STATES OF AMERICA,                         )
                                                   )
                                                            Criminal No. 1:21-cr-10256-IT
 v.                                                )
                                                   )
 KINGSLEY R. CHIN,                                 )
                                                            Leave to file granted on
 ADITYA HUMAD, and                                 )
                                                            March 7, 2024
 SPINEFRONTIER, INC.,                              )
                                                   )
                        Defendants.                )
                                                   )


DEFENDANTS’ REPLY IN SUPPORT OF THEIR MOTION TO DISMISS COUNTS 1-7

       The government’s opposition papers reflect dramatic shifts in position since it presented

this matter to multiple grand juries. First, the government has changed its theory from Defendants

using IME for false public payment disclosures, to Defendants using IME to dupe physicians-

consultants. Second, and relatedly, the government has shifted from treating physician-consultants

as co-conspirators to treating them as victims. In the course of doing so, the government overstates

                                and fails to mention the fact that it relied on multiple grand juries,

making it even easier for the government to mislead the final grand jury that returned the flawed

Indictment.

       In its opposition, the government goes to great lengths to argue, despite contrary allegations

in the Indictment, that the grand jury somehow understood




                                                                                      But in fact, the

government has shown no such thing. At most,

                                                                                   . The government
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has provided nothing in the record suggesting that the grand jury somehow became aware that

SpineFrontier made disclosures in its own name from the outset, a fact contrary to the express

allegations in the Indictment that the grand jury eventually returned, that SpineFrontier always

disclosed payments in its own name, and that SpineFrontier never used IME’s name as the payor

in public disclosures of payments to physician-consultants.

       The government’s misplaced reliance on                                         raises another

critical issue. By rule and practice, the length of the investigation here required the use of two if

not three grand juries. While simultaneously telling the Court (albeit misleadingly) that

                             , the government has refused to inform Defendants whether or which

of the exhibits to the government’s opposition made it to the actual grand jury that returned the

Indictment. A copy of an email string between defense counsel and the government about this

subject is attached hereto as Exhibit 1. See United States v. Leeper, No. 06-CR-58A, 2006 WL

1455485, at *3 (W.D.N.Y. May 22, 2006) (dismissing indictment where government used multiple

grand juries and prosecutor advised the later “grand jurors that they were going to hear summaries

of testimony that the original grand jury had heard, and that the transcripts of that testimony would

be available to them for review”); United States v. Samango, 607 F.2d 877, 881-82 (9th Cir. 1979)

(affirming dismissal of indictment in a case involving multiple grand juries, “the lengthy

transcripts were merely deposited with the grand jury, and … [t]he prosecutor should have

attempted to present live testimony” before the grand jury that returned the pertinent Indictment);

United States v. Gallo, 394 F. Supp. 310, 315 (D. Conn. 1975) (dismissing indictment where “for

some unexplained reason, the prosecutor failed to supply the second grand jury with the full and

complete record of the proceedings before the first grand jury” and “the second grand jury was

composed of individuals different from those who had first indicted the defendants”); In re Grand




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Jury Investigation of Banana Indus., 214 F. Supp. 856, 859 (D. Md. 1963) (dismissing indictment

because “[t]he Court should foreclose any possibility that even an inadvertently unfair summary

of the testimony taken before the Grand Jury in Maryland might be presented to the Grand Jury in

California,” finding it improper to “seek an indictment not upon testimony which the grand jury

has heard, but upon selected portions of the testimony of one or more witnesses given before

another grand jury”).

       In its opposition, the government suggests that its theory from the outset was not that public

disclosures by SpineFrontier used the wrong name of the payor, but that



    . In the Indictment, the government treated these physician-consultants expressly as

unindicted co-conspirators and, in a separate case, even charged one with obstruction of justice

See United States v. Montone, No. 20-cr-10159 (D. Mass. Aug. 17, 2020). But in the opposition,

faced with the fact that SpineFrontier made full disclosure of the payments, in its own name, the

government’s theory treats physician-consultants as victims

                                   . In reality, as reflected in the text of the Indictment itself, the

government misused



                    . Any new theory of physician-consultants as victims is not what is alleged in

the Indictment or seen in the record on this motion.

       The inherent problems with the government shifting positions concerning the treatment of

physician-consultants, away from what it emphasized before the grand jury, is compounded by the

government’s influence on the statements and testimony the physician-consultants themselves

gave. At least some of the physician-consultants initially supported the legitimacy of




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SpineFrontier’s consulting program. After meetings with the government, stories unsurprisingly

morphed by physician-consultants to blame SpineFrontier for deficiencies in their work hours. For

example, according to an FBI 302, Dr. Joseph Shehadi told investigators that he performed actual

consulting services “that he believes were completely ‘legitimate,’” that he “was never asked to do

anything illegal by anyone associated with SF [i.e. SpineFrontier],” and that he “runs all of these

types of arrangements by his attorney.” (Exhibit 2 hereto (emphases added)). Dr. Shehadi went on

to explain that he “evaluated the products and provided feedback to SF,” “gave his feedback on

products online, via email, over the phone, or by talking to the sales representatives or engineers,”

and referred to a “paper trail” of such work (which documents he produced bear out). Id. The 302

ends with “Shehadi insisted that everything that he did with SF was completely legal.” Id. The

government has not charged Dr. Shehadi with making false statements under 18 U.S.C. § 1001 or

otherwise. Yet as he met with investigators and prosecutors, Dr. Shehadi’s story began to shift. By

the time of his grand jury testimony, and after multiple meetings with the government, including

at least one referenced in his grand jury testimony for which the government has provided no notes

or memo, Dr. Shehadi was telling a very different story that implicated defendants.

          Defendants disagree with many other aspects of the government’s opposition, but

Defendants limit their reply consistent with the Court’s directives and otherwise rest on their initial

papers.

                                          CONCLUSION

          Based on the foregoing, Defendants request that the Court grant their motions to dismiss

in their entirety. In the alternative, Defendants request an evidentiary hearing in support of their

dispositive motions.




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                             Respectfully submitted,

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                                     Certificate of Service

        The undersigned certifies that this document, filed through the ECF system, will be
electronically served on counsel who are registered users of ECF on March 7, 2024.

                                                    /s/ Joshua L. Solomon
